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A Limited Liability Law Partnership

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Cross-Claimant
ASSOCIATION OF APARTMENT OWNERS
OF DIAMOND HEAD SANDS


                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada            )   Case No. 16-00347 JMS RLP
Limited Liability Company; CRAIG B.    )
STANLEY, as Trustee for THE            )
EDMON KELLER AND CLEAVETTE             )   CERTIFICATE OF SERVICE
MAE STANLEY FAMILY TRUST;              )
CRAIG B. STANLEY, individually;        )   re: [Corporate Disclosure Statement
MILLICENT ANDRADE, individually,       )   (#177)]
                                       )
                   Plaintiffs,         )
                                       )
            vs.                        )
                                       )
ABNER GUARINO; AURORA                  )
GAURINO; ABIGAIL GUARINO;              )
INVESTORS       FUNDING                )
CORPORATION, as Trustee for an         )   (Caption continued on next page)
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unrecorded Loan Participation             )
Agreement dated June 30, 2014; APT-       )
320, LLC, a Hawaii limited liability      )
company; CRISTETA C. OWAN, an             )
individual; ROMMEL GUZMAN;                )
FIDELITY NATIONAL TITLE &                 )
ESCROW OF HAWAII and DOES 1-              )
100 Inclusive,                            )
                  Defendants.             )
_______________________________           )
APT-320, LLC, a Hawaii Limited            )
Liability Company                         )
                                          )
            Third Party Plaintiff         )
                                          )
                                          )
                                          )
APARTMENT OWNERS                     OF   )
DIAMOND HEAD SANDS,                       )
                                          )
            Third Party Defendant.        )
                                          )
ABIGAIL LEE GAURINO; CRAIG B.             )
STANLEY, as Trustee for THE               )
EDMON KELLER AND CLEAVETTE                )
MAE STANLEY FAMILY TRUST;                 )
CRAIG B. STANLEY, individually,           )
                                          )
            Third Party                   )
            Cross-Claim Defendants.       )



                         CERTIFICATE OF SERVICE
                  re: [Corporate Disclosure Statement (#177)]

      The undersigned hereby certifies that a copy of Third-party Defendant/Third
Party Counterclaimant/Third Party Cross-claimant Association of Apartment Owners
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of Diamond Head Sands’ Corporate Disclosure Statement (#177) was filed and served
upon the following parties electronically, through CM/ECF, unless otherwise
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                       Defendant Craig B.Stanley and Craig B. Stanley, an
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                       Company,                CRAIG B. STANLEY, as Trustee
                       for THE EDMON KELLER AND CLEAVETTE MAE
                       STANLEY FAMILY TRUST, CRAIG B. STANLEY,
                       individually, and Third Party Cross-Claim Defendants
                       CRAIG B. STANLEY, as Trustee for THE EDMON
                       KELLER AND CLEAVETTE MAE STANLEY FAMILY
                       TRUST, CRAIG B. STANLEY, individually
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            DATED: Honolulu, Hawaii October 28, 2017
.


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